           Case 1:11-cv-00324-SM Document 41 Filed 05/16/13 Page 1 of 2



                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW HAMPSHIRE


WAYNE J-JEWELL                                                                   *

           Plants                                                                *    CIVIL ACTION NO,
                                                                                 *        ll-cv-324-SM


UNITED STATES                                                                   *

           Dekmk**L                                                             *
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                                              NOTICE OF APPEAL

           The frfamtiff, WAYNE i JEWELL ("Jewell") hereby appeals to the

Court of Appeals for the First Circuit from the followmgr
ENDORSED ORDER deny ing [39] M otionforReconsideration and Identification of Medical
Expert Re: [37] Order. Text of Order: Denied for the reasons given in the government's
memorandum in opposition. So Ordered by Judge Steven J. McAuliffe.(jab)




Signed May 1 0 , 2 0 1 1 .                               WAYNE J. JEWELL, PLAINTIFF

                                                         /«/ Wayne J. Jewell
                                                         WAYNE J. JEWELL
                                                         33 Highland Street, Apt 36
                                                         E. Rochester, NH 03868-8535
                                                         (603)332-8271




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        Case 1:11-cv-00324-SM Document 41 Filed 05/16/13 Page 2 of 2



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                                                                            u .0
                                  WAYNE X JEWELL
                                 33 HIGHLAND STKEET, APT. 36
                                   E. ROCHESTER, NH 0 3 8 6 8 .
                                   (603)       332-8271

       May 10,2013

Office ofthe Clerk, Room 110
United States District Court
For the District of New Hanpshtre
Cooccwd, New Hampshire 03301-3941


                                  Re: JeweU v. United States
                                  Docket No 11-00324

Dear Office of tbe Clerk:

       Enclosed is Jewell's Appeal from the following:

Notice of EJectrome Fflmfl
The following transaction was entered on 4/17/2013 at 2:46 PM EDTaadfiledon 4/17/2013

ENDORSED ORDER denying [39] Motion for Reconsideration and Identification of Medical
Expert Re: [37] Otter. Text ef Order: Denied, for the reasora given in the government's
memorandum in opposition. So Ordered by Judge Steven J. McAuliffe.(jab)



                                               Sincerely,

                                               /$/ Wayne J. Jewell
                                               Wayne J. Jewell
